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PROB 22
               FILED                                                                                                DOCKET NUMBER (Trans Court)

                                                                                                                    0754 3:10CR30006-002
   10:48 am, Mar 20, 2018
                       TRANSFER OF JURISDICTION                                                                     DOCKET NUMBER (Rec. Court)
      U.S. DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA
                                                                                                                    *   2:18-cr-007-WTL-CMM
      Laura
NAME AND    A. Briggs,
         ADDRESS       Clerk
                  OF PROBATIONER/SUPERVISED RELEASE                            DISTRICT                             DIVISION /OFFICE

                                                                                    Southern District Of Illinois             East St. Louis
Donald Long                                                                    NAME OF ASSIGNED JUDGE
Bicknell, IN 47512
                                                                               Honorable Michael J. Reagan, Chief U.S. District Judge

                                                                               DATES OF PROBATION/ FROM                     TO
                                                                                SUPERVISED RELEASE October 20, 2017         October 19, 2022

OFFENSE

18 U.S.C. BANK ROBBERY

18 U.S.C. USING FIREARM IN RELATION TO A CRIME OF VIOLENCE

PART 1- ORDER TRANSFERRING JURISDICTION

UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF ILLINOIS

         IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or supervised releasee named
above be transferred with the records of the Court to the United States District Court for the SOUTHERN DISTRICT OF INDIANA upon
that Court's order of acceptance of jurisdiction. This Court hereby expressly consents that the period of probation or supervised



                                                                                            (:2
release may be changed by the District Court to which this transfer is made without further inquiry of this court.*




   3-\~ -18                                                                               rJtr     (}~
 DATE                                                                                     UN{T}ED STATES DISTRICT JUDGE
                                                                                             v

* Th is sentence may be deleted in the discretion of the transferring Court.



PART 2- ORDER ACCEPTING JURISDICTION

UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF INDIANA

         IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be accepted and assumed
by this Court from and after the entry of this order.




 DATE                                                                                     UNITED STATES DISTRICT JUDGE
